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EXHIBIT D
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JESSICA E, PHILLIPS
jphillips@bsfllp.com
202-237-2727

VIA EMAIL

March 11, 2020

Mr. W. Edward ReBrook, Esq.
The ReBrook Law Office
6013 Clerkenwell Court
Burke, VA 22015
edward@rebrooklaw.com

RE: Sines et al. v. Kessler et al., No. 3:17-cv-00072-NKM (W.D. Va.)
Dear Mr. ReBrook:

I write regarding the document production that you made on October 25, 2019, on
behalf of Defendant Jeff Schoep.

As you know, in its order of November 27, 2019, the Court ordered that, no later
than February 5, 2020, “Each Defendant shall produce any nonprivileged responsive ESI,
along with a privilege log fully explaining why any responsive ESI was withheld, to
Plaintiffs’ counsel ....” ECF No. 579 (emphasis added).

As reflected in the third-party discovery vendor’s report dated February 25, 2020,
the vendor imaged and collected 22,419 files from Mr. Schoep’s devices and social media
accounts. 2,542 of these files (from Mr. Schoep’s laptop computer, email accounts,
website, and VK account) hit on the agreed-upon search terms.

Despite the large number of presumptively responsive documents, Mr. Schoep’s
production included only 100 documents from Mr. Schoep’s laptop and email accounts,
including commander@newsaxon.org and jeffschoep@gmail.com. Of those 100
documents, a large portion comprised public filings and correspondence in this case, as
well as numerous irrelevant documents (including birthday announcements, Google news
alerts, Reason.com newsletters, and advertisements). Approximately half of Mr. Schoep’s

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production comprised non-viewable files, with filename extensions “.bin,” “.pak,” and
“ Jog,” that contained no substance. However, a review of other Defendants’ productions
reveals numerous emails sent to and from Mr. Schoep at commander@newsaxon.org that
Mr: Schoep should have produced, including at least 300 emails exchanged with Defendant
Matthew Heimbach (including emails discussing Unite the Right), six emails exchanged
with Defendant Jason Kessler (including emails discussing Unite the Right), approximately
20 emails exchanged with Defendant Matthew Parrott, and several emails exchanged with
Dillon Hopper of Vanguard America.

Furthermore, Mr. Schoep’s production contained no documents from the
NSM88.org website and VK account that Mr. Schoep disclosed, both of which contain
responsive documents. For example, on March 2, 2019, at 8:41 AM, Mr. Schoep posted
on VK a plainly responsive message to followers regarding what he characterized as “an
ongoing, frivolous lawsuit stemming from events that occurred at the Unite the Right Rally
in August, 2017.” The fall/winter 2017 issue of the “NSM Magazine” posted on NSM’s
website contains a similarly clearly responsive “Charlottesville Unite the Right Report”
describing NSM’s involvement in the events of August 2017.

In light of the high number of presumptively responsive documents as well as the
known responsive documents that Mr. Schoep has not produced, and the small size and
non-substantive nature of Mr. Schoep’s production, we request that you answer the
following questions so that Plaintiffs may determine whether to seek relief from the Court: :

1. With respect to the more than 2,400 documents that hit on search terms but
that you did not produce, please state whether you have withheld those
documents because they were privileged or because you decided that they
were non-responsive although they hit on search terms.

2. To the extent that you have withheld any documents on the grounds of
privilege, you are required to provide Plaintiffs with a privilege log, as
ordered by the Court in its November 27, 2019, order, in compliance with
the Federal Rules of Civil Procedure. See Fed. R. Civ. P. 26(b)(5). Please
confirm whether you have withheld any documents as privileged.

3. Please clarify the nature of the non-viewable files ending in “.bin,” “.pak,”
and “log,” including explaining what type of file they are and whether they
are associated with particular software, and produce replacement versions
that are readable in a standard text editor or image viewer.

In addition, we reiterate our request, which we made at the deposition of Burt
Colucci on December 10, 2019, and again by email on December 11, 2019, that you
provide Mr. Schoep’s new phone to the third-party discovery vendor. Mr. Colucci testified

 
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at his deposition that Mr. Schoep had exchanged text messages with Mr. Colucci on this
new phone. You previously refused to produce this phone because, as you stated in your
email dated December 17, 2019, Mr. Schoep’s new phone “was obtained well after
Charlottesville and therefore would not contain any potentially relevant information in
regards to this litigation.” However, Plaintiffs’ First Set of Requests for Production of
Documents explicitly request “/ajJll Documents and Communications concerning the
Events,” where “Events” are defined to mean the occurrences and activities described in
the Complaint, as well as “[ajll Documents concerning and all Communications
concerning or with any Plaintiff or Defendant (other than You) named in the Amended
Complaint, and any other Person who attended, planned or was involved in the Events”
(emphasis added). Requests for Production Nos. 1, 6. Therefore, any communications Mr.
Schoep possesses with Mr. Colucci, regardless of their date, are relevant and responsive to
Plaintiffs’ requests. Furthermore, you are required to supplement your responses in
accordance with Fed. R. Civ. P. 26(e). We therefore request that you immediately produce
Mr. Schoep’s new phone to the vendor.

Please provide your responses as requested above by Wednesday, March 18, 2020.
If we do not hear from you, we intend to seek relief from the Court. Plaintiffs reserve all
rights.

Sincerely,

 

jphillips@bsfllp.com
202-237-2727

 
